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                                                                     September 8, 2019

VIA EMAIL

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

               Re:      Jane Doe, et al. v. The Trump Corporation, et al., l8-cv-09936 (LGS)

Dear Judge Schofield:

        As noted in Defendants’ letter filed Friday evening (Doc. No. 108), Plaintiffs’ counsel were
unavailable on Friday afternoon when Defendants’ counsel sent us the draft protective order that
they submitted to the Court a few hours later. While the parties remain largely in agreement with
respect to the terms of that order, there is one area of disagreement. As indicated at the
September 5 status conference, Plaintiffs are prepared to agree to a protective order that permits
Defendants themselves to have access to confidential identity information. However, after further
consultation with our clients, it is clear that Plaintiffs continue to have serious concerns about
Defendants’ misuse of such information. Accordingly, yesterday we proposed to Defendants a
revised protective order that included one additional protection against such misuse—namely, a
provision that would prevent Defendants from contacting the Plaintiffs or their family members
directly.
        Counsel for Defendants initially responded by indicating that Defendants were generally
prepared to agree to such a provision, but that counsel for Defendants should be permitted to
contact unrepresented potential non-party witnesses in accordance with applicable rules.
Accommodating that concern, we then proposed a revision to the no-contact provision that carved
out counsel of record acting in accordance with applicable rules. (See Exhibit A ¶ 14.) (A redline
reflecting Plaintiffs’ revisions to Defendants’ draft is also attached as Exhibit B hereto.) In an
apparent shift in position, Defendants’ counsel then refused to agree to any limitation on
Defendants themselves contacting the family members of the Plaintiffs. We asked defense counsel
to explain what legitimate reason Defendants themselves might have to contact Plaintiffs’ family
members, and defense counsel responded with an email setting forth their position. The parties’
correspondence on these issues is enclosed as Exhibit C. (We have made minor redactions of
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certain personal medical information concerning Mr. Quinn’s family and whereabouts on Friday
afternoon.)
        For the avoidance of doubt, Plaintiffs’ position is that Defendants’ counsel of record should
be bound by applicable rules with respect to their contact with Plaintiffs and their family members,
and that Defendants themselves, and their agents other than counsel of record, have no legitimate
basis to contact either Plaintiffs or their family members directly and should not be permitted to
do so. In other words, there is no good reason (and Defendants have not offered one) for President
Trump or his children to contact either the Plaintiffs or their family members. Clearly, given the
vast differences in economic, social and political status between Plaintiffs and Defendants, any
effort to do so would almost certainly intimidate and terrify Plaintiffs and their family members,
which was precisely the point of allowing them to proceed pseudonymously in the first place.
Defendants’ largely unexplained resistance to those limitations is troubling and only reinforces our
clients’ understandable fears.
        Plaintiffs respectfully ask the Court to enter the protective order enclosed as Exhibit A
hereto. We would be glad to submit any further support for this request that may be helpful to the
Court.
                                                      Respectfully submitted,




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